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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                          Case No. 20-51213-mlo

 Ronald M Smith, Jr
                                                 Chapter 13
 Kristen A. Smith

 Debtors.                                        Judge Maria L. Oxholm

                                       PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Mortgage Payment
Change has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on January 11, 2021 to the following:

          Ronald M Smith, Jr, Debtor
          5300 E. Monroe Street
          Tecumseh, MI 49286

          Kristen A. Smith, Debtor
          5300 E. Monroe Street
          Tecumseh, MI 49286

          William C. Babut, Debtors’ Counsel
          wbabut@babutlaw.com

          Alexander Joseph Berry-Santoro, Debtors’ Counsel
          alex@babutlaw.com

          David Wm Ruskin, Trustee
          ecf-emails@det13.com

          United States Trustee’s Office
          (registeredaddress)@usdoj.gov




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                                         Respectfully Submitted,

                                         /s/ Molly Slutsky Simons
                                         Molly Slutsky Simons (OH 0083702)
                                         Sottile & Barile, Attorneys at Law
                                         394 Wards Corner Road, Suite 180
                                         Loveland, OH 45140
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                                         Attorney for Creditor




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